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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                            May 10, 2023
                            UNITED STATES DISTRICT COURT
                                                                                         Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

J.J.P.B., on behalf of himself and on behalf §
of his minor child, A.E.P.F.,                §
                                             §
       Plaintiffs,                           §
                                             §
VS.                                          § CIVIL ACTION NO. 7:23-cv-00133
                                             §
Unknown Parties and the United States of §
America,                                     §
                                             §
       Defendant.
                                         ORDER
        The Court now considers Steve C. Herzog’s notice of appearance1 and Christopher D.
Pineda’s notice of substitution of lead counsel.2

        On April 11, 2023, the District of Arizona severed Plaintiffs’ Federal Tort Claims Act
claims from the case proceeding before it.3 On transfer of the severed case to this judicial district,
the Clerk of Court retained all counsel of record from the Arizona case.

        From the instant filings, it is unclear to the Court whether Mr. Herzog is sole counsel for
Plaintiffs and Mr. Pineda sole counsel for Defendants. Accordingly, the Court ORDERS
remaining counsel to file either a notice of appearance or withdrawal in accordance with Local
Rule 83.2 by May 31, 2023, at 5:00 p.m.

        IT IS SO ORDERED.

        DONE at McAllen, Texas, this 10th day of May 2023.


                                                     __________________________________
                                                                 Micaela Alvarez
                                                            United States District Judge




1
  Dkt. No. 116.
2
  Dkt. No. 117.
3
  Dkt. No. 112.


1/1
